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 6                          IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9    Richard Wayne Thompson,                          No. CV-22-00001-PHX-DJH (MTM)
10                           Plaintiff,                ORDER
11    v.
12
      Melissa J. Collier,
13
                             Defendant.
14
15          On January 3, 2022, Plaintiff Richard Wayne Thompson, who is not in custody,
16   filed a pro se civil rights Complaint (Doc. 1), and an Application to Proceed in District
17   Court Without Prepaying Fees or Costs (Doc. 2). The Court will dismiss this action.
18   I.     Vexatious Litigant Order
19          Plaintiff is a frequent litigant,1 and has had a vexatious litigant order entered against
20   him by this Court. (See Doc. 7 in CV 20-01755-PHX-DJH (MTM) (Nov. 19, 2020)).
21   Pursuant to that Order, certain restrictions have been placed on Plaintiff’s ability to file in
22   this Court. Most importantly, before filing a complaint, Plaintiff must obtain leave of this
23   Court to do so. Specifically, Plaintiff must file a Motion for Leave to File that conforms
24   to the following provisions:
25                 (1) If Richard Wayne Thompson attempts to file any new
26                 action in this Court after [November 19, 2020], he must include
                   therewith a “Motion for Leave to File” and attach to it the
27
28          1
             Plaintiff has filed at least 59 cases in this Court since 2018, and at least 24 appeals
     to the Ninth Circuit since 2020.
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 1                 complaint he wishes to file. In the “Motion for Leave to File,”
                   Plaintiff must:
 2
                          (A) in the FIRST SENTENCE, request leave to file the
 3                        new action; and,
 4                        (B) in the SECOND SENTENCE, state the number of
                          individual claims he wishes to bring. For EACH
 5
                          CLAIM, Plaintiff must then, in ONE SENTENCE PER
 6                        CLAIM, describe the harm he has suffered, or may
                          suffer, and by whom such harm was, or may be,
 7
                          inflicted. For example, if Plaintiff intends to bring five
 8                        claims, he may use one sentence for each of those
                          claims, for a total of five sentences.
 9
                   (2) If Plaintiff does not include a “Motion for Leave to File”
10                 with any new action he submits, the Court will not consider the
11                 filing, and the action will be summarily dismissed for failure
                   to comply with this Order.
12
                   (3) If the “Motion for Leave to File” does not comply with the
13                 above requirements, the Court will read no further, the “Motion
14                 for Leave to File” will be denied, and the case will be
                   summarily dismissed for failure to comply with this Order.
15
                   (4) If the Court cannot determine from the “Motion for Leave
16                 to File” what harm Plaintiff claims to have suffered and how
17                 the defendant(s) allegedly committed the harm, the Court will
                   read no further, the “Motion for Leave to File” will be denied,
18                 and the case will be dismissed for failure to comply with this
19                 Order.

20
     (CV 20-01755-PHX-DJH (MTM), Doc. 7 at 5-6).
21
            Plaintiff has not filed a Motion for Leave to File, but has instead simply written
22
     “Motion for Leave to File” on each page of his Complaint. This fails to comply with the
23
     vexatious litigant order entered against him, and this action will thus be dismissed.
24
            IT IS ORDERED:
25
            (1)    Plaintiff’s Application to Proceed in District Court Without Prepaying Fees
26
     or Costs (Doc. 2) is denied as moot.
27
     ....
28
     ....


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 1         (2)    This action is dismissed without prejudice. The Clerk of Court must enter
 2   judgment and close this case.
 3         Dated this 10th day of January, 2022.
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 6                                             Honorable Diane J. Humetewa
 7                                             United States District Judge

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